                   UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NEW MEXICO

In Re: Fred Dale Van Winkle,

       Debtor.                                                        No. 13-11743-J7

                       TRUSTEE’S MOTION TO SELL PROPERTY
                                 OF THE ESTATE

      CLARKE C. COLL, CHAPTER 7 TRUSTEE HEREIN, by his undersigned

attorney, moves this Court for an Order authorizing the sale of property of the estate as

follows: Debtor's 1/2 undivided interest in 311.2 acres of farmland located in Roosevelt

County, New Mexico, described as follows:

The Northeast quarter (NE1/4) of Section Twenty Three (23), and the Northwest
quarter (NW1/4) of Section Twenty Four (24), all in Township 2 South of Range Thirty
Two (32) East, N.M.P.M.;

Said sale being to Debtor's daughter, Tammy Sprague (“Buyer”) for a sales price of

$12,500.00 payable immediately upon Court Approval of Sale; and would show the

Court the following:

       1. Debtor filed his voluntary petition under Chapter 7 on May 21, 2013; Clarke C.

Coll is the duly appointed Chapter 7 Trustee.

       2. At the time of the filing of the petition herein, Debtor was the owner of a 1/2

undivided interest in farmland located in Roosevelt County, New Mexico. Debtor's

Schedules identify his interest as "1/2 interest in 311.3 acres of farmland (292.9 acres are

in CRP) = held jointly with sister-in-law located in Portales, NM - value based on

current market is $150.00 an acre." Upon information and belief, there are no liens on

the property. To the extent there are any liens, Buyer is purchasing the property "as is,




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where is" with no warranty of title and subject to liens, if any. There is non-exempt

equity in the property that cannot be protected by the Debtor.

       3. Buyer has offered to purchase said interest in real property from the estate for

$12,500.00 payable in cash upon entry of Order approving said sale. Buyer has agreed

to purchase the subject property "as is, where is" with no warranty of title and property

to be conveyed by Trustee's Deed with no warranty and subject to liens, if any. The

Trustee has accepted this offer subject to court approval.

       4. Trustee recognizes that undivided interests in real estate are difficult to sell.

Trustee believes the purchase price is reasonable. The estate will not have any sales

costs or closing costs. Thus, all proceeds from the sale will go directly to the estate. The

Trustee believes that this sale will result in a maximum benefit to this estate and will

expedite closing of this estate.

       5.    The Trustee believes that the above-referenced offer is reasonable and

recommends that the Court approve this sale.

       WHEREFORE, the Trustee moves this Court for an Order authorizing sale of the

real property described herein to Tammy Sprague under the terms and conditions as set

forth hereinabove and for such other relief as is just.

                                            Respectfully submitted:
                                            Coll Bros. Law, LLC
                                            Clarke C. Coll/S/Submitted Electronically
                                            Clarke C. Coll
                                            Attorney for Trustee
                                            P O Box 2288
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I hereby certify that on 19th day of September 2014, I electronically filed with the Court
via the CM/ECF system this pleading and all attorneys and parties identified with the
court for electronic service on the record in this case were served by electronic service in
accordance with the CM/ECF system.
                                           Clarke C. Coll/S/Submitted Electronically
	  




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